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              IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 George E. Norcross, III, Gregory B.        :
 Braca, and Philip A. Norcross,             :
                     Plaintiffs,            :
                                            :   CIVIL ACTION
              vs.                           :   NO. 22-cv-04953 (BMS)
                                            :
 Republic First Bancorp, Inc., Harry        :
 Madonna, Andrew B. Cohen, Lisa
 Jacobs, Harris Wildstein, Peter B.         :
 Bartholow, and Benjamin C. Duster,         :
 IV,                                        :
                                            :
                     Defendants.            :
                                            :
                                            :
                                            :
                              [PROPOSED] ORDER
      AND NOW, this ___ day of __________, 20___, upon consideration of the

Motion for Preliminary Injunction of Plaintiffs George E. Norcross, III, Gregory B.

Braca, and Philip A. Norcross (“Plaintiffs”), and any opposition and/or reply filed

in connection therewith, it is hereby ORDERED that Plaintiffs’ Motion is

GRANTED;

      IT IS FURTHER ORDERED that Defendants are hereby enjoined from

implementing the November 4, 2022 decision to reduce the size of the board of

directors of Republic First Bancorp, Inc. (the “Company”) from eight members to

six, and from taking any similar measure that has the effect of impeding, thwarting,

frustrating, or interfering with shareholders’ voting rights;
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      IT IS FURTHER ORDERED that Defendants are enjoined from making

any amendments to the Company’s bylaws or the size of the Company’s board until

after the 2022 annual meeting and a special meeting for the election of a director to

fill the board’s vacant Class I seat;

      IT IS FURTHER ORDERED that Defendants reopen nominations for

director candidates for the 2022 annual meeting to elect three Class III directors and

allow nominations for a special shareholder meeting to be held to fill the vacant

Class I Board seat;

      IT IS FURTHER ORDERED that Defendants are enjoined from enforcing

the nomination deadline of November 14, 2022;

      IT IS FURTHER ORDERED that Defendants are enjoined from rejecting

Plaintiffs’ nomination(s) of candidates for the Board on the grounds that Plaintiffs

are not “record holders” of Company stock or any other invalid ground;

      IT IS FURTHER ORDERED that Defendant Benjamin C. Duster, IV not

participate in any Board meetings or decisions as he is not a valid director of the

Company and his nomination for reelection as an incumbent Class III director at the

Company’s 2022 annual meeting is null and void;

      IT IS FURTHER ORDERED that Defendants are hereby enjoined from

convening the Company’s annual meeting of shareholders, currently scheduled for

January 26, 2023, until at least sixty (60) days after entry of this Order; and


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      IT IS FURTHER ORDERED that Plaintiffs deposit with the Clerk legal

tender of the United States in the amount of five hundred dollars ($500.00) to be

held by the Clerk, conditioned that if this injunction is dissolved because improperly

granted, Plaintiffs shall pay to any person injured all damages sustained by reason

of granting the injunction and all legally taxable costs and fees.




                                               BY THE COURT:



                                                                 Berle M. Schiller, J.




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